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YurowitzLaw PLLC
                                                                                     STEVEN Y. YUROWITZ
                                                                                               ~
                                                                                        WILLIAM J. DOBIE

                                                                February 24, 2025

  By ECF and Email
  Hon. Robert Kirsch
  Unites States District Court
  District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street
  Trenton, New Jersey 08608

                                                 Re: United States v. Aron Puretz
                                                     24-cr-398 (RK)
  Dear Judge Kirsch:

          As Your Honor is well-aware this firm represents Aron Puretz, the defendant in the above-
  referenced matter. I apologize in advance for the last-minute nature of this application. Mr. Puretz
  is currently serving his sentence at FPC Otisville. This evening Mr. Puretz’s son is to be married.
  The BOP permits an inmate a furlough to attend the religious portion of the wedding ceremony of
  a child. This morning, Mr. Puretz’s representative was informed by the Warden that the request
  for a furlough was denied because in my argument against a remand in this case I noted the
  upcoming wedding, and Your Honor nevertheless ordered Mr. Puretz to be remanded. Thus, the
  BOP viewed the remand as the Court’s view that it is inappropriate for Mr. Puretz to be out for the
  wedding.

          I am informed by Mr. Puretz’s representative that if the Court were to indicate that its
  decision to remand was not intended to opine on the grant or denial of a furlough, the BOP would
  permit a furlough in this matter as it routinely does in other cases. I am further informed that there
  is no flight-risk in Mr. Puretz’s brief attendance of the wedding since he will be escorted to and
  from the wedding by a BOP escort who will remain there the entire time.

          I have communicated with AUSA Moore and he indicated that I can represent to the Court
  that the government takes no position with respect to this application.

          Accordingly, we respectfully request that Your Honor issue an Order that it has no
  objection to the BOP following its normal protocol in such matters with respect to Mr. Puretz’s
  attendance of his son’s wedding.

                                                        Respectfully submitted,



                                                        Steven Y. Yurowitz
  cc: AUSA Babasijibomi Moore (by ECF)


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